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 5
     Counsel for Defendant, DOUGLAS STORMS YORK
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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )             No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )             DEFENDANT’S MOTION IN LIMINE NO.
                                           )              7 TO EXCLUDE ANY EVIDENCE
14                                         )             OFFERED BY THE GOVERNMENT THAT
     vs.                                   )             WAS NOT PRODUCED PRIOR TO TRIAL
15                                         )
                                           )             Pretrial Conference: July 16, 2015
16                                         )             Time: 2:00 p.m.
     DOUGLAS STORMS YORK,                  )
17                                         )             Trial Date: July 20, 2015
                       Defendant.          )
18   _____________________________________ )             Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York, by and through his counsel, submits the following motion

21   in limine in conformity with the Court’s pretrial order and Local Rule 47-2. This motion is based

22   upon the attached memorandum of points and authorities, all files and records in this case, and any

23   further evidence as may be adduced at the hearing on this motion. Mr. York reserves the right to

24   supplement this motion during the course of trial as needed.

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26   \\\

     Def.’s Motion In Limine No. 7
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 1                                              ARGUMENT

 2   I.      The Court Should Exclude Any Evidence Offered by the Government That Was Not
             Produced Prior to Trial
 3

 4           Mr. York requests that the Court exclude any evidence that the government was obligated

 5   to produce before trial pursuant to Rule 16 of the Federal Rules of Criminal Procedure. As a

 6   preliminary matter, the government has not informed defense counsel that it has fully complied with

 7   its discovery obligations under Rule 16 as of the date of this filing.

 8           Additionally, Mr. York requests that the Court order the government to provide him with

 9   prompt written notice of its intention to use any discoverable evidence in its case-in-chief pursuant

10   to Federal Rule of Criminal Procedure 12(b)(4).

11                                             CONCLUSION

12           For the foregoing reasons, and for such other reasons as may appear at the hearing on this

13   motion, Mr. York respectfully requests that the Court grant his motion, and accord such other relief

14   as this Court deems just. Mr. York requests leave to file further motions as may be necessary.

15

16   Dated: July 2, 2015                                    Respectfully submitted,

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                                                            STEVEN G. KALAR
18                                                          Federal Public Defender

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                                                                 s/
20                                                          GRAHAM ARCHER
                                                            Assistant Federal Public Defender
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     Def.’s Motion In Limine No. 7
     CR 15-00226 BLF                                   2
